         Case 24-31363-jal                Doc 25         Filed 06/28/24            Entered 06/28/24 17:48:02                 Page 1 of 31




Fill in this information to identify the case:

Debtor name         Mikesell Trading LLC

United States Bankruptcy Court for the:     WESTERN DISTRICT OF KENTUCKY

Case number (if known)     24-31363
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       June 28, 2024                   X /s/ Evan Mikesell
                                                           Signature of individual signing on behalf of debtor

                                                            Evan Mikesell
                                                            Printed name

                                                            Director of Operations
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
          Case 24-31363-jal                               Doc 25                Filed 06/28/24                         Entered 06/28/24 17:48:02                                 Page 2 of 31

Fill in this information to identify the case:

Debtor name           Mikesell Trading LLC

United States Bankruptcy Court for the:                      WESTERN DISTRICT OF KENTUCKY

Case number (if known)              24-31363
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $           631,874.22

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $           631,874.22


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           786,982.84


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           574,762.72


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $           1,361,745.56




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
          Case 24-31363-jal                 Doc 25      Filed 06/28/24           Entered 06/28/24 17:48:02                       Page 3 of 31

Fill in this information to identify the case:

Debtor name         Mikesell Trading LLC

United States Bankruptcy Court for the:      WESTERN DISTRICT OF KENTUCKY

Case number (if known)       24-31363
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number

4.        Other cash equivalents (Identify all)
                   Amazon clearing accounts (US, CA, MX) total cumulative balance of $35,690.21 includes
          4.1.     affiliates' sales                                                                                                               $21,224.31




          4.2.     Ebay clearing account                                                                                                                    $0.00




          4.3.     Walmart clearing account                                                                                                         $1,172.85




5.        Total of Part 1.                                                                                                                     $22,397.16
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit



Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
          Case 24-31363-jal                Doc 25        Filed 06/28/24            Entered 06/28/24 17:48:02               Page 4 of 31

Debtor           Mikesell Trading LLC                                                     Case number (If known) 24-31363
                 Name




          7.1.     Security deposit                                                                                                     $8,352.96



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment


9.        Total of Part 2.                                                                                                           $8,352.96
          Add lines 7 through 8. Copy the total to line 81.

Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                           356.77   -                                 0.00 = ....                      $356.77
                                       face amount                          doubtful or uncollectible accounts




12.       Total of Part 3.                                                                                                             $356.77
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:          Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.

                                                                                                   Valuation method used     Current value of
                                                                                                   for current value         debtor's interest

14.       Mutual funds or publicly traded stocks not included in Part 1
          Name of fund or stock:

15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
          partnership, or joint venture
          Name of entity:                                               % of ownership
                    Highland Brands LLC d/b/a Harmon Shoes
          15.1.     of KY                                                      100         %                                            Unknown




          15.2.     Harmon Shoes of Kentucky LLC                               100         %                                            Unknown




          15.3.     Saratoga Supply, LLC                                       100         %                                            Unknown



16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
          Describe:


17.       Total of Part 4.                                                                                                                $0.00
          Add lines 14 through 16. Copy the total to line 83.

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 2
          Case 24-31363-jal                Doc 25       Filed 06/28/24       Entered 06/28/24 17:48:02                 Page 5 of 31

Debtor       Mikesell Trading LLC                                                    Case number (If known) 24-31363
             Name

Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description               Date of the last         Net book value of         Valuation method used     Current value of
                                            physical inventory       debtor's interest         for current value         debtor's interest
                                                                     (Where available)

19.       Raw materials

20.       Work in progress

21.       Finished goods, including goods held for resale
          Shoes and clothing                                                  Unknown          Recent cost                        $594,967.33



22.       Other inventory or supplies

23.       Total of Part 5.                                                                                                    $594,967.33
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                             Valuation method                          Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                        Net book value of         Valuation method used     Current value of
                                                                     debtor's interest         for current value         debtor's interest
                                                                     (Where available)

39.       Office furniture
          Miscellaneous tables, shelves, and bins                                  $0.00                                            $4,800.00



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Five (5) computer and monitor work stations                              $0.00                                            Unknown

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                      page 3
           Case 24-31363-jal               Doc 25         Filed 06/28/24            Entered 06/28/24 17:48:02                Page 6 of 31

Debtor        Mikesell Trading LLC                                                           Case number (If known) 24-31363
              Name




42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

43.        Total of Part 7.                                                                                                               $4,800.00
           Add lines 39 through 42. Copy the total to line 86.

44.        Is a depreciation schedule available for any of the property listed in Part 7?
              No
              Yes

45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
              No
              Yes

Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                            Net book value of          Valuation method used     Current value of
                                                                          debtor's interest          for current value         debtor's interest
                                                                          (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites
           1370collective.com                                                              $0.00                                          $1,000.00



62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                            $1,000.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes


Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                          page 4
           Case 24-31363-jal               Doc 25       Filed 06/28/24            Entered 06/28/24 17:48:02             Page 7 of 31

Debtor        Mikesell Trading LLC                                                         Case number (If known) 24-31363
              Name

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                   page 5
           Case 24-31363-jal                        Doc 25             Filed 06/28/24                    Entered 06/28/24 17:48:02                     Page 8 of 31

Debtor          Mikesell Trading LLC                                                                                Case number (If known) 24-31363
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                            $22,397.16

81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $8,352.96

82. Accounts receivable. Copy line 12, Part 3.                                                                          $356.77

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                             $594,967.33

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                            $4,800.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                    $1,000.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $631,874.22           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $631,874.22




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 6
          Case 24-31363-jal                      Doc 25          Filed 06/28/24              Entered 06/28/24 17:48:02                 Page 9 of 31

Fill in this information to identify the case:

Debtor name         Mikesell Trading LLC

United States Bankruptcy Court for the:           WESTERN DISTRICT OF KENTUCKY

Case number (if known)             24-31363
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
      Amazon Capital Services,
2.1                                                Describe debtor's property that is subject to a lien                 $110,224.31               $675,609.49
      Inc.
      Creditor's Name                              All tangible and intangible personal property
      410 Terry Ave. N.
      Seattle, WA 98109
      Creditor's mailing address                   Describe the lien
                                                   UCC Financing Statement
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      09/27/2019                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   Rapid Finance                                Describe debtor's property that is subject to a lien                   $24,074.12              $675,609.49
      Creditor's Name                              All tangible and intangible personal property
      4500 East West Hightway
      6th Floor
      Bethesda, MD 20814
      Creditor's mailing address                   Describe the lien
                                                   Non-Purchase Money Security
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      02/01/2023                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply


Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 3
           Case 24-31363-jal                     Doc 25         Filed 06/28/24               Entered 06/28/24 17:48:02                   Page 10 of
                                                                            31
Debtor      Mikesell Trading LLC                                                                  Case number (if known)      24-31363
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3   SellersFunding Corp                         Describe debtor's property that is subject to a lien                     $152,684.41       $675,609.49
      Creditor's Name                             All tangible and intangible personal property
      1290 Weston Road Suite
      306
      Weston, FL 33326
      Creditor's mailing address                  Describe the lien
                                                  UCC Financing Statement
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      03/28/2023                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4   SellersFunding Corp                         Describe debtor's property that is subject to a lien                       Unknown         $675,609.49
      Creditor's Name                             All tangible and intangible personal property
      1290 Weston Road Suite
      306
      Weston, FL 33326
      Creditor's mailing address                  Describe the lien
                                                  UCC Financing Statement
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      08/03/2023                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



      US Small Business
2.5                                                                                                                        $500,000.00       $675,609.49
      Administration                              Describe debtor's property that is subject to a lien
      Creditor's Name                             All tangible and intangible personal property
      2 North Street, Suite 320
      Birmingham, AL 35203
      Creditor's mailing address                  Describe the lien
                                                  UCC Financing Statement



Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 2 of 3
           Case 24-31363-jal                     Doc 25         Filed 06/28/24               Entered 06/28/24 17:48:02                   Page 11 of
                                                                            31
Debtor      Mikesell Trading LLC                                                                  Case number (if known)      24-31363
            Name

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      06/17/2020                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      7804
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.            $786,982.84

Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
       Corporation Service Company
       for: SellersFunding                                                                                  Line   2.3
       801 Adlai Stevenson Drive
       Springfield, IL 62703

       Corporation Service Company
       for: SellersFunding                                                                                  Line   2.4
       801 Adlai Stevenson Drive
       Springfield, IL 62703

       Corporation Service Company
       for: Rapid Finance                                                                                   Line   2.2
       801 Adlai Stevenson Drive
       Springfield, IL 62703

       Fasanara Securitisation S.A.
       For: Compartment L                                                                                   Line   2.3
       36-38 Grand- Rue
       Grand Duchy of Luxembourg LU L-1660

       Fasanara Securitisation S.A.
       For: Compartment L                                                                                   Line   2.4
       36-38 Grand- Rue
       Grand Duchy of Luxembourg LU L-1660

       Lien Solutions
       P.O. Box 29071                                                                                       Line   2.1
       Glendale, CA 91209-9071

       Office of the U. S. Attorney
       Western District of Kentucky                                                                         Line   2.5
       For: U.S. Small Business Administration
       717 West Broadway
       Louisville, KY 40202




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 3 of 3
            Case 24-31363-jal                   Doc 25          Filed 06/28/24                   Entered 06/28/24 17:48:02                     Page 12 of
                                                                            31
Fill in this information to identify the case:

Debtor name        Mikesell Trading LLC

United States Bankruptcy Court for the:         WESTERN DISTRICT OF KENTUCKY

Case number (if known)           24-31363
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                   Total claim           Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                              Unknown           Unknown
          Internal Revenue Service                             Check all that apply.
          P.O. Box 7346                                           Contingent
          Philadelphia, PA 19101-7346                             Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:


          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.2       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                              Unknown           Unknown
          Kentucky Department of Revenue                       Check all that apply.
          PO Box 5222                                             Contingent
          Frankfort, KY 40602                                     Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:


          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 4
                                                                                                               53128
           Case 24-31363-jal               Doc 25          Filed 06/28/24            Entered 06/28/24 17:48:02                           Page 13 of
                                                                       31
Debtor      Mikesell Trading LLC                                                            Case number (if known)            24-31363
            Name

3.1      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $118,121.80
         American Express                                             Contingent
         PO Box 981535                                                Unliquidated
         El Paso, TX 79998-1535                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit card charges
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.2      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $9,696.42
         Capital One                                                  Contingent
         PO Box 105474                                                Unliquidated
         Atlanta, GA 30348-5474                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit card charges
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $55,000.00
         Elan Polo, Inc.                                              Contingent
         2005 Walton Rd                                               Unliquidated
         Saint Louis, MO 63114                                        Disputed
         Date(s) debt was incurred 01/18/2023
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $28,180.17
         Legend Advance Funding                                       Contingent
         800 Brickell Ave                                             Unliquidated
         Suite 902
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $103,923.16
         Marcus Goldman Sachs                                         Contingent
         PO Box 45400                                                 Unliquidated
         Salt Lake City, UT 84145-0400                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,391.83
         Marketplace Valet                                            Contingent
         240 Teller St                                                Unliquidated
         Corona, CA 92879                                             Disputed
         Date(s) debt was incurred 02/14/2024
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $96,166.20
         MCK Investments & Consulting LLC                             Contingent
         Matt Kubancik                                                Unliquidated
         11403 Saratoga Ridge Dr                                      Disputed
         Louisville, KY 40299
                                                                   Basis for the claim: Loans
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 2 of 4
            Case 24-31363-jal                  Doc 25          Filed 06/28/24                Entered 06/28/24 17:48:02                           Page 14 of
                                                                           31
Debtor       Mikesell Trading LLC                                                                   Case number (if known)            24-31363
             Name

3.8       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $6,984.00
          Net Sports LLC                                                      Contingent
          Exclusive Sports                                                    Unliquidated
          600 W. John St                                                      Disputed
          Hicksville, NY 11801
                                                                           Basis for the claim:
          Date(s) debt was incurred 09/11/2022
          Last 4 digits of account number                                  Is the claim subject to offset?     No       Yes


3.9       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $576.25
          One Source Logistics, LLC                                           Contingent
          PO Box 34697                                                        Unliquidated
          Louisville, KY 40232                                                Disputed
          Date(s) debt was incurred 03/27/2024
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.10      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $6,810.64
          Pajar Canada                                                        Contingent
          4509 Av. Coloniale                                                  Unliquidated
          Montreal, QC H2T 1V8                                                Disputed
          CANADA
                                                                           Basis for the claim:
          Date(s) debt was incurred 11/18/2022
          Last 4 digits of account number                                  Is the claim subject to offset?     No       Yes


3.11      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $68,816.54
          Puma North America Inc.                                             Contingent
          10 Lyberty Way                                                      Unliquidated
          Westford, MA 01886                                                  Disputed
          Date(s) debt was incurred 11/17/2022
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.12      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $8,795.71
          Unishippers Global Logistics LLC
          LRH Solutions Inc                                                   Contingent
          119 Evergreen Road                                                  Unliquidated
          PO Box 436191                                                       Disputed
          Louisville, KY 40243
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?     No       Yes


3.13      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $69,300.00
          Vida Shoes International                                            Contingent
          29 West 56th St.                                                    Unliquidated
          New York, NY 10019                                                  Disputed
          Date(s) debt was incurred 06/01/2023
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 3 of 4
            Case 24-31363-jal              Doc 25         Filed 06/28/24          Entered 06/28/24 17:48:02                        Page 15 of
                                                                      31
Debtor      Mikesell Trading LLC                                                        Case number (if known)         24-31363
            Name

          Name and mailing address                                                     On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                       related creditor (if any) listed?             account number, if
                                                                                                                                     any
4.1       Harmon Shoes Of Kentucky LLC
          2855 Nepperhan Rd                                                            Line     3.4
          Louisville, KY 40218
                                                                                              Not listed. Explain

4.2       Highland Brands LLC
          10428 Bluegrass Pkwy                                                         Line     3.4
          Louisville, KY 40299
                                                                                              Not listed. Explain

4.3       Martinez Law PA
          Attn: Christopher A. Martinez                                                Line     3.4
          2525 Ponce de Leon Blvd, Suite 300
                                                                                              Not listed. Explain
          Coral Gables, FL 33134

4.4       Evan Mikesell
          2855 Nepperhan Road                                                          Line     3.4
          Louisville, KY 40218
                                                                                              Not listed. Explain

4.5       Office of the U. S. Attorney
          Western District of Kentucky                                                 Line     2.1
          For: Internal Revenue Service
                                                                                              Not listed. Explain
          717 West Broadway
          Louisville, KY 40202


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                          Total of claim amounts
5a. Total claims from Part 1                                                              5a.         $                          0.00
5b. Total claims from Part 2                                                              5b.    +    $                    574,762.72

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                   5c.         $                      574,762.72




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 4 of 4
          Case 24-31363-jal                Doc 25         Filed 06/28/24             Entered 06/28/24 17:48:02                    Page 16 of
                                                                      31
Fill in this information to identify the case:

Debtor name       Mikesell Trading LLC

United States Bankruptcy Court for the:     WESTERN DISTRICT OF KENTUCKY

Case number (if known)     24-31363
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Unexpired lease of
           lease is for and the nature of        nonresidential real
           the debtor's interest                 property commonly
                                                 identified as 10428
                                                 Bluegrass Parkway;
                                                 debtor is lessee
               State the term remaining          02/28/2027
                                                                                    Weston Inc.
           List the contract number of any                                          1800 Production Court
                 government contract                                                Louisville, KY 40299




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
         Case 24-31363-jal                Doc 25        Filed 06/28/24           Entered 06/28/24 17:48:02                   Page 17 of
                                                                    31
Fill in this information to identify the case:

Debtor name      Mikesell Trading LLC

United States Bankruptcy Court for the:   WESTERN DISTRICT OF KENTUCKY

Case number (if known)   24-31363
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Evan Mikesell               2855 Nepperhan Road                                       American Express                   D
                                      Louisville, KY 40218                                                                         E/F       3.1
                                                                                                                                   G




   2.2    Evan Mikesell               2855 Nepperhan Road                                       Legend Advance                     D
                                      Louisville, KY 40218                                      Funding                            E/F       3.4
                                                                                                                                   G




   2.3    Evan Mikesell               2855 Nepperhan Road                                       Rapid Finance                      D   2.2
                                      Louisville, KY 40218                                                                         E/F
                                                                                                                                   G




   2.4    Evan Mikesell               2855 Nepperhan Road                                       SellersFunding Corp                D   2.3
                                      Louisville, KY 40218                                                                         E/F
                                                                                                                                   G




   2.5    Evan Mikesell               2855 Nepperhan Road                                       SellersFunding Corp                D   2.4
                                      Louisville, KY 40218                                                                         E/F
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 2
         Case 24-31363-jal            Doc 25       Filed 06/28/24         Entered 06/28/24 17:48:02               Page 18 of
                                                               31
Debtor    Mikesell Trading LLC                                                    Case number (if known)   24-31363


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor



  2.6     Evan Mikesell            2855 Nepperhan Road                                 US Small Business                  D   2.5
                                   Louisville, KY 40218                                Administration                     E/F
                                                                                                                          G




  2.7     Evan Mikesell            2855 Nepperhan Road                                 Puma North America                 D
                                   Louisville, KY 40218                                Inc.                               E/F   3.11
                                                                                                                          G




  2.8     Highland Brands          10428 Bluegrass Pkwy                                Legend Advance                     D
          LLC                      Louisville, KY 40299                                Funding                            E/F   3.4
                                                                                                                          G




  2.9     Matt Kubancik            11403 Saratoga Ridge Dr                             Weston Inc.                        D
                                   Louisville, KY 40299                                                                   E/F
                                                                                                                          G   2.1




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 2 of 2
           Case 24-31363-jal              Doc 25         Filed 06/28/24             Entered 06/28/24 17:48:02                    Page 19 of
                                                                     31



Fill in this information to identify the case:

Debtor name         Mikesell Trading LLC

United States Bankruptcy Court for the:    WESTERN DISTRICT OF KENTUCKY

Case number (if known)    24-31363
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                               $615,017.68
      From 1/01/2024 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                             $3,190,943.00
      From 1/01/2023 to 12/31/2023
                                                                                          Other


      For year before that:                                                               Operating a business                             $2,881,172.49
      From 1/01/2022 to 12/31/2022
                                                                                          Other    Business Operations

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
             Case 24-31363-jal             Doc 25         Filed 06/28/24             Entered 06/28/24 17:48:02                      Page 20 of
                                                                      31
Debtor       Mikesell Trading LLC                                                               Case number (if known) 24-31363



      Creditor's Name and Address                                  Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                       Check all that apply
      3.1.
              Guardian Baseball                                    03/05/2024 -                       $7,656.74          Secured debt
              3300 Ruckriegel Pkwy                                 05/01/2024                                            Unsecured loan repayments
              Suite 104                                                                                                  Suppliers or vendors
              Louisville, KY 40299                                                                                       Services
                                                                                                                         Other Health insurance plan


      3.2.
              Marketplace Valet                                    02/28/2024 -                     $11,118.47           Secured debt
              240 Teller St                                        05/24/2024                                            Unsecured loan repayments
              Corona, CA 92879
                                                                                                                         Suppliers or vendors
                                                                                                                         Services
                                                                                                                         Other


      3.3.
              Matt Kubancik                                        02/26/2024 -                       $9,150.00          Secured debt
              11403 Saratoga Ridge Dr                              05/22/2024                                            Unsecured loan repayments
              Louisville, KY 40299
                                                                                                                         Suppliers or vendors
                                                                                                                         Services
                                                                                                                         Other


      3.4.
              MCK Investments & Consulting LLC                     02/27/2024 -                     $18,500.00           Secured debt
              11403 Saratoga Ridge Dr                              05/21/2024                                            Unsecured loan repayments
              Louisville, KY 40299                                                                                       Suppliers or vendors
                                                                                                                         Services
                                                                                                                         Other


      3.5.
              Weston Inc.                                          02/26/2024 -                     $11,847.40           Secured debt
              1800 Production Court                                04/25/2024                                            Unsecured loan repayments
              Louisville, KY 40299                                                                                       Suppliers or vendors
                                                                                                                         Services
                                                                                                                         Other Rent



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

         None.

      Insider's name and address                                   Dates                 Total amount of value         Reasons for payment or transfer
      Relationship to debtor
      4.1.    Matt Kubancik                                        08/24/2023 -                     $57,419.00         Loan payments
              11403 Saratoga Ridge Dr                              05/22/2024
              Louisville, KY 40299
              Consultant

      4.2.    Matt Kubancik                                        09/26/2023 -                       $8,300.00        Vendor payments
              11403 Saratoga Ridge Dr                              03/11/2024
              Louisville, KY 40299
              Consultant




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 2
             Case 24-31363-jal              Doc 25         Filed 06/28/24            Entered 06/28/24 17:48:02                       Page 21 of
                                                                       31
Debtor       Mikesell Trading LLC                                                               Case number (if known) 24-31363



      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.3.    Evan Mikesell                                        06/06/2023 -                     $56,958.52           Payments to Marcus Goldman
              2855 Nepperhan Road                                  08/29/2023                                            Sachs
              Louisville, KY 40218
              Member

      4.4.    Evan Mikesell                                        09/25/2023 -                     $15,147.02           Payments to Legend Advance
              2855 Nepperhan Road                                  04/19/2024
              Louisville, KY 40218
              Member

      4.5.    Evan Mikesell                                        09/06/2023 -                     $26,720.83           Payments to Parafin Capital
              2855 Nepperhan Road                                  03/27/2024
              Louisville, KY 40218
              Member

      4.6.    Evan Mikesell                                        05/26/203 -                      $27,215.81           Payments to Rapid Finance
              2855 Nepperhan Road                                  09/15/2023
              Louisville, KY 40218
              Member

      4.7.    Evan Mikesell                                        06/15/2023 -                     $32,760.00           Payments to SBA
              2855 Nepperhan Road                                  05/15/2024
              Louisville, KY 40218
              Member

      4.8.    Evan Mikesell                                        06/12/2023 -                     $80,555.53           Payments to Sellers Fi
              2855 Nepperhan Road                                  10/02/2023
              Louisville, KY 40218
              Member

      4.9.    Matt Kubancik                                        05/26/2023 -                     $26,776.08           Rent payments to Weston
              11403 Saratoga Ridge Dr                              01/26/2024
              Louisville, KY 40299
              Consultant

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                               Nature of case              Court or agency's name and                 Status of case
              Case number                                                          address
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 3
             Case 24-31363-jal             Doc 25         Filed 06/28/24              Entered 06/28/24 17:48:02                  Page 22 of
                                                                      31
Debtor       Mikesell Trading LLC                                                                Case number (if known) 24-31363



              Case title                              Nature of case               Court or agency's name and            Status of case
              Case number                                                          address
      7.1.    SellersFunding International            Collection                   Supreme Court of NY -                      Pending
              Portfolio Ltd v. Mikesell                                            Washington County                          On appeal
              Trading LLC and Evan                                                 383 Broadway
                                                                                                                              Concluded
              Mikesell                                                             Fort Edward, NY 12828
              EC2024-36451

      7.2.    Puma North America, Inc. v.             Collection                   Jefferson Circuit Court                    Pending
              Mikesell Trading LLC et al.                                          Jefferson County Judicial                  On appeal
              24-CI-3649                                                           Center                                     Concluded
                                                                                   700 W. Jefferson St.
                                                                                   Louisville, KY 40202


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address            Description of the gifts or contributions                 Dates given                          Value


Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                  Dates of loss             Value of property
      how the loss occurred                                                                                                                            lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 4
            Case 24-31363-jal               Doc 25         Filed 06/28/24             Entered 06/28/24 17:48:02                    Page 23 of
                                                                       31
Debtor        Mikesell Trading LLC                                                               Case number (if known) 24-31363



                Who was paid or who received              If not money, describe any property transferred               Dates               Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.                                                                                                             12/11/2023 -
                Kaplan Johnson Abate & Bird                                                                             $3,000;
                LLP                                                                                                     04/02/2024 -
                710 West Main Street                                                                                    $5,000;
                Fourth Floor                                                                                            04/25/2024 -
                Louisville, KY 40202                      Retainer                                                      $7,000                   $15,000.00

                Email or website address
                kaplanjohnsonlaw.com

                Who made the payment, if not debtor?
                Harmon Shoes of KY / Highland
                Brands



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

              Who received transfer?                   Description of property transferred or                     Date transfer             Total amount or
              Address                                  payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                             Dates of occupancy
                                                                                                                    From-To

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address              Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:       Personally Identifiable Information


Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 5
           Case 24-31363-jal                Doc 25          Filed 06/28/24             Entered 06/28/24 17:48:02                     Page 24 of
                                                                        31
Debtor        Mikesell Trading LLC                                                               Case number (if known) 24-31363



16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred
      18.1.    Republic Bank & Trust Co                 XXXX-5048                     Checking                 April 2024                                 $0.00
               601 W Market St                                                        Savings
               Louisville 40202-2745
                                                                                      Money Market
                                                                                      Brokerage
                                                                                      Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                  Names of anyone with                Description of the contents                 Does debtor
                                                               access to it                                                                    still have it?
                                                               Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                                Names of anyone with                Description of the contents                 Does debtor
                                                               access to it                                                                    still have it?


Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:      Details About Environment Information

For the purpose of Part 12, the following definitions apply:
Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 6
           Case 24-31363-jal               Doc 25          Filed 06/28/24            Entered 06/28/24 17:48:02                        Page 25 of
                                                                       31
Debtor      Mikesell Trading LLC                                                                Case number (if known) 24-31363



     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed
   25.1.    Highland Brands LLC                                                                        EIN:         XX-XXXXXXX
            10428 Bluegrass Pkwy
            Louisville, KY 40299                                                                       From-To


   25.2.    Harmon Shoes Of Kentucky                                                                   EIN:         XX-XXXXXXX
            LLC
            2855 Nepperhan Rd                                                                          From-To
            Louisville, KY 40218

   25.3.    Saratoga Supply, LLC                                                                       EIN:         XX-XXXXXXX
            10428 Bluegrass Pkwy
            Louisville, KY 40299                                                                       From-To



26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 7
           Case 24-31363-jal                Doc 25         Filed 06/28/24            Entered 06/28/24 17:48:02                     Page 26 of
                                                                       31
Debtor      Mikesell Trading LLC                                                                Case number (if known) 24-31363



             None

      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26a.1.        Deckard Accounting                                                                                              October 2022 -
                    107 N. Longworth Ave.                                                                                           present
                    Louisville, KY 40212
      26a.2.        Major League Bookkeeping
                    Corissa McChesney

      26a.3.        Full Service Commerce LLC
                    Frank McDonnell

      26a.4.        Blue Jean Financial
                    Tiffany Gaskin


    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Evan Mikesell
                    2855 Nepperhan Road
                    Louisville, KY 40218
      26c.2.        MCK Investments & Consulting LLC
                    Matt Kubancik
                    11403 Saratoga Ridge Dr
                    Louisville, KY 40299
      26c.3.        Deckard Accounting
                    107 N. Longworth Ave.
                    Louisville, KY 40212

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 8
           Case 24-31363-jal               Doc 25        Filed 06/28/24             Entered 06/28/24 17:48:02                   Page 27 of
                                                                     31
Debtor      Mikesell Trading LLC                                                               Case number (if known) 24-31363



      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Evan Mikesell                          2855 Nepperhan Road                                 Director of Operations and              100%
                                             Louisville, KY 40218                                Member

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Matt Kubancik                          11403 Saratoga Ridge Dr                             Consultant                              0
                                             Louisville, KY 40299



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1 Evan Mikesell
      .    2855 Nepperhan Road                                                                                  06/01/2023 -        Draws and
             Louisville, KY 40218                     $60,364.31                                                05/21/2024          reimbursements

             Relationship to debtor
             Member


      30.2 MCK Investments &
      .    Consulting LLC
             Matt Kubancik
             11403 Saratoga Ridge Dr                                                                            05/26/2023 -
             Louisville, KY 40299                     $57,750.00                                                05/21/2024          Consulting fees

             Relationship to debtor
             Consultant


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 9
           Case 24-31363-jal               Doc 25          Filed 06/28/24            Entered 06/28/24 17:48:02                Page 28 of
                                                                       31
Debtor      Mikesell Trading LLC                                                                Case number (if known) 24-31363



Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         June 28, 2024

/s/ Evan Mikesell                                               Evan Mikesell
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Director of Operations

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 10
             Case 24-31363-jal               Doc 25         Filed 06/28/24            Entered 06/28/24 17:48:02                   Page 29 of
                                                                        31
B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                             Western District of Kentucky
 In re       Mikesell Trading LLC                                                                             Case No.      24-31363
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

              FLAT FEE
             For legal services, I have agreed to accept                                                  $
             Prior to the filing of this statement I have received                                        $
             Balance Due                                                                                  $

              RETAINER
             For legal services, I have agreed to accept and received a retainer of                       $                 15,000.00
             The undersigned shall bill against the retainer at an hourly rate of                         $                     450.00
             [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court approved
             fees and expenses exceeding the amount of the retainer.


2.   The source of the compensation paid to me was:

                  Debtor             Other (specify):      Debtor, Harmon Shoes of KY, and Highland Brands

3.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]
             Negotiations with creditors; preparation and filing of motions and applications as needed.

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Representation of the debtor in any associated cases or proceedings pending or initiated before state courts
             other than for purposes of monitoring and enforcing automatic stay, federal courts not related to the bankruptcy
             case, or administrative tribunals.
         Case 24-31363-jal               Doc 25        Filed 06/28/24           Entered 06/28/24 17:48:02                   Page 30 of
                                                                   31
In re     Mikesell Trading LLC                                                                      Case No.     24-31363
                                                  Debtor(s)

                    DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                       (Continuation Sheet)
                                                                CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

   June 28, 2024                                                         /s/ Charity S. Bird
   Date                                                                  Charity S. Bird
                                                                         Signature of Attorney
                                                                         Kaplan Johnson Abate & Bird LLP
                                                                         710 West Main Street
                                                                         Fourth Floor
                                                                         Louisville, KY 40202
                                                                         (502) 540-8285 Fax: (502) 540-8282
                                                                         cbird@kaplanjohnsonlaw.com
                                                                         Name of law firm
          Case 24-31363-jal                 Doc 25          Filed 06/28/24              Entered 06/28/24 17:48:02                       Page 31 of
                                                                        31
                                                      United States Bankruptcy Court
                                                             Western District of Kentucky
 In re    Mikesell Trading LLC                                                                                    Case No.       24-31363
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Evan Mikesell                                                                     100%                                       Membership
2855 Nepperhan Road
Louisville, KY 40218


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

         I, the Director of Operations of the corporation named as the debtor in this case, declare under penalty of perjury
that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information
and belief.



Date June 28, 2024                                                       Signature /s/ Evan Mikesell
                                                                                        Evan Mikesell

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
